     Case 8:14-cv-00210-TJH-DFM Document 143 Filed 06/26/17 Page 1 of 2 Page ID #:11596



 1      PETER NISSON, SBN 62276
 2        peternisson@gmail.com
        LAW OFFICES OF NISSON & NISSON
 3      1503 South Coast Drive, Suite 100B
 4      Costa Mesa, California 92626
        Telephone: (949) 390-8535
 5      Facsimile: (949) 272-5577
 6
        Attorneys for Relators,
 7      Serve All Help All, Inc. d/b/a
        Non-Profit Alliance of Consumer Advocates;
 8      Jose Arturo Abad-Vega; and
        Moses Hall
 9
                            UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11                               WESTERN DIVISION

12

13      UNITED STATES, ex rel., SERVE               Case No. 14-cv-00210-TJH (DFMx)
14      ALL HELP ALL, INC. D/B/A NON-
        PROFIT ALLIANCE OF CONSUMER                 DECLARATION OF PETER NISSON
15      ADVOCATES; JOSE ARTURO                      IN SUPPORT OF RELATORS’
16      ABAD-VEGA; and MOSES HALL,                  REPLY BRIEF IN SUPPORT OF
                                                    MOTION FOR LEAVE TO FILE
17                       Plaintiff-Relators,        FIFTH AMENDED COMPLAINT
18            v.

19      ACE SECURITIES CORP. HOME     Judge: Honorable Terry J. Hatter, Jr.
20      EQUITY LOAN TRUST 2004-FM1 BY
        HSBC BANK USA AS TRUSTEE; et
21      al.,                          Hearing
22                                    Date: July 10, 2017
                    Defendants.
23                                    Time: UNDER SUBMISSION
                                      Place: Courtroom 9B
24                                    Judge: Hon. Terry J. Hatter, Jr.
25

26

27

28

                                                    1
         DeclaratiON OF PETER NISSON IN SUPPORT OF RELATORS’ REPLY BRIEF IN SUPPORT OF MOTION
                              FOR LEAVE TO FILE FIFTH AMENDED COMPLAINT
     Case 8:14-cv-00210-TJH-DFM Document 143 Filed 06/26/17 Page 2 of 2 Page ID #:11597



 1      I, Peter Nisson do declare:
 2      1.    I am the counsel of record for the Relators in the above entitled matter. I
 3      have personal knowledge of the events and facts of this case, and to the matters
 4
        sworn to below. If called to testify in person, I could do so completely and fully.
 5
        2.    I reasonably believed that this Court’s Order stating it was “without
 6
        prejudice” meant that there was no final judgment, and that leave to amend could
 7
        be sought.
 8
        3.    Based on the authorities stated herein above, I reasonably understood that
 9
        the Order being without prejudice and with no final judgment being entered by the
10
        Order, this left open the door to correct the defects to the complaint and to comply
11
        with the standard under Fed.R.Civ.P. 9.
12
        4.    If I misinterpreted this Court’s Order, it was due to excusable neglect.
13

14            I declare under the penalty of perjury of the laws of the United States of

15      America that the foregoing is true and correct.
16

17      Dated this 26th day of June, 2017
                                               /s/ Peter Nisson______________
18
                                                  PETER NISSON, Declarant
19

20
21

22

23

24

25

26

27

28

                                                    2
         DeclaratiON OF PETER NISSON IN SUPPORT OF RELATORS’ REPLY BRIEF IN SUPPORT OF MOTION
                              FOR LEAVE TO FILE FIFTH AMENDED COMPLAINT
